                                      Case 16-02028-5-DMW                     Doc 181 Filed 07/09/18
                                                                                             FORM 1
                                                                                                     Entered 07/09/18 15:00:29                                Page 1 of 4
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                           Page:       1
                                                                                          ASSET CASES
Case No:             16-02028-5-DMW        Judge: David M. Warren                                                          Trustee Name:                        Richard D. Sparkman
Case Name:           SUNCOAST CONTRACTING, LLC                                                                             Date Filed (f) or Converted (c):     04/15/16 (f)
                                                                                                                           341(a) Meeting Date:                 06/06/16
For Period Ending: 06/30/18
                                                                                                                           Claims Bar Date:                     08/19/16

                                  1                                      2                     3                4           5                           6                         7                     8
                                                                                        Est Net Value
                                                                                                             Property                                Asset Fully
                                                                                      (Value Determined
                                                                     Petition/                               Formally   Sale/Funds               Administered (FA)/
                                                                                       by Trustee, Less
                         Asset Description                          Unscheduled                             Abandoned   Received by           Gross Value of Remaining           Lien              Exempt
                                                                                      Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                 Values                                OA=554(a)    the Estate                    Assets                   Amount             Amount
                                                                                       and Other Costs)
 1. American Express                                                           0.00                137.33                        274.66                              0.00                0.00                   0.00
     Savings at work rebate
 2. PNC Bank Acct #7566                                                  4,838.25                4,838.25                       4,838.25                 FA                              0.00                   0.00
 3. Balance in Trust Account of Janvier Law Firm                             407.00                  0.00                           0.00                             0.00                0.00                   0.00
     Balance in Janvier Law FirmTrust account was remitted
     directly to J.M. Cook, esq. Trust account for retainer.
 4. Landlord Deposit                                                    11,237.70                    0.00                           0.00                             0.00                0.00                   0.00
     Deposit retained by Landlord per Settlement Agreement
     entered 7/08/16 (DE 87).
 5. Accounts Receivable                                                 Unknown                      0.00                           0.00                             0.00                0.00                   0.00
 6. Office Furniture (u)                                                       0.00              1,500.00                       1,500.00                             0.00                0.00                   0.00
     Co-owned w/ Cardinal Civil Contracting.
 7. Machinery/Equipment                                                 Unknown                      0.00                           0.00                             0.00                0.00                   0.00
 8. Internet Domain - Suncon.us                                         Unknown                      0.00                           0.00                             0.00                0.00                   0.00
 9. Intercompany Receivable from Suncoast Equipment                    338,787.00                    0.00                           0.00                 FA                              0.00                   0.00
     As of 12/31/15 $388,787.00
     Uncollectible- Suncoast Equipment is presently in pending
     Chapter 7
 10. John K. Gallo-potential cause of action                            Unknown                      0.00                           0.00                             0.00                0.00                   0.00
     RE: company loans; use of corporate credit card for
     personal use; breach of fiduciary duty
 11. United States Treasury (u)                                                0.00             18,444.28                   18,444.28                    FA                              0.00                   0.00
     F-941 Refunds:
     6/2015 $429.34
     9/2015 $5,820.41
     12/2015 $12,194.53

                                                                                                                                           Gross Value of Remaining Assets




LFORM1EX                                                                                                                                                                                                Ver: 20.00j
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                                                                                                 FORM 1
                                                                                                         Entered 07/09/18 15:00:29                                               Page 2 of 4
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                        Page:       2
                                                                                              ASSET CASES
Case No:             16-02028-5-DMW          Judge: David M. Warren                                                                           Trustee Name:                        Richard D. Sparkman
Case Name:           SUNCOAST CONTRACTING, LLC                                                                                                Date Filed (f) or Converted (c):     04/15/16 (f)
                                                                                                                                              341(a) Meeting Date:                 06/06/16
                                                                                                                                              Claims Bar Date:                     08/19/16

                                 1                                            2                     3                      4                   5                         6                           7                   8
                                                                                             Est Net Value
                                                                                                                      Property                                       Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds            Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by        Gross Value of Remaining              Lien            Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                 Assets                      Amount           Amount
                                                                                            and Other Costs)
 TOTALS (Excluding Unknown Values)                                       $355,269.95                 $24,919.86                               $25,057.19                               $0.00             $0.00               $0.00
                                                                                                                                                         (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  6/30/18


  1. Order authorizing compromise of Taylor Morrison and HD Supply litigation was entered 6/15/18 (DE 175). This resolves
  all remaining litigation in the case.


  Initial Projected Date of Final Report (TFR): 12/31/17           Current Projected Date of Final Report (TFR): 10/30/18


            /s/    Richard D. Sparkman
  __________________________________________ Date: 07/09/18
            RICHARD D. SPARKMAN




LFORM1EX                                                                                                                                                                                                                 Ver: 20.00j
                                            Case 16-02028-5-DMW                Doc 181 Filed 07/09/18 Entered 07/09/18 15:00:29                                             Page 3 of 4
                                                                                              FORM 2                                                                                                                   Page:       1
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:                  16-02028-5-DMW                                                                                                     Trustee Name:                     Richard D. Sparkman
  Case Name:                SUNCOAST CONTRACTING, LLC                                                                                          Bank Name:                        UNION BANK
                                                                                                                                               Account Number / CD #:            *******0209 Checking Account (Non-Interest Earn
  Taxpayer ID No:           *******3731
  For Period Ending:        06/30/18                                                                                                           Blanket Bond (per case limit): $ 3,001,266.00
                                                                                                                                               Separate Bond (if applicable):


      1                2                                  3                                     4                      5                  6                      7                      8                   9                  10

  Transaction    Check or                                                                                                                                                          Adjustments                            Account / CD
     Date        Reference                 Paid To / Received From                   Description Of Transaction   Deposits ($)        Interest ($)           Checks ($)                ($)             Transfers ($)       Balance ($)
                                                                       BALANCE FORWARD                                                                                                                                                   0.00
     04/25/16          1         American Express                      Savings at Work Rebate                               137.33                                                                                                     137.33
                                 Travel Related Services Co.
                                 MC 24-001-17
                                 2401 W. Behrend Dr., Ste 55
                                 Phoenix, AZ 85027
     06/07/16          2         PNC Bank, NA                          Close out Acct#7566                                 4,838.25                                                                                                 4,975.58
                                 4100 W. 150th Street
                                 Cleveland, OH 44135
     06/07/16                    Clerk U. S. Bankruptcy Court          Court Costs                                                                                     30.00                                                        4,945.58
                                 P. O. Box 1441                        Court costs-addition of creditors
                                 Raleigh, NC 27602-1441
     06/29/16       001001       Wake County Clerk of Superior Court   Suncoast Contracting, LLC                                                                          6.25                                                      4,939.33
                                                                       Taylor Morrison Claim of Lien
     07/25/16                    UNION BANK                            BANK SERVICE FEE                                                                                                     -15.00                                  4,924.33
     08/25/16                    UNION BANK                            BANK SERVICE FEE                                                                                                     -15.00                                  4,909.33
     08/29/16          11        United States Treasury                6/2015 F-941 Refund                                  429.34                                                                                                  5,338.67
     08/29/16          11        United States Treasury                9/2015 F-941 Refund                                 5,820.41                                                                                                11,159.08
     08/29/16          11        United States Treasury                12/2015 F-941 Refund                            12,194.53                                                                                                   23,353.61
     09/19/16          6         Anderson Jones, PLLC                  Sales proceeds per 9/03/16 Order                    1,500.00                                                                                                24,853.61
                                 1305 Navaho Drive, Suite 303
                                 Raleigh, NC 27609
     09/26/16                    UNION BANK                            BANK SERVICE FEE                                                                                                     -15.00                                 24,838.61
     04/25/18                    UNION BANK                            BANK SERVICE FEE                                                                                                     -36.92                                 24,801.69
     05/25/18                    UNION BANK                            BANK SERVICE FEE                                                                                                     -35.72                                 24,765.97
     06/25/18                    UNION BANK                            BANK SERVICE FEE                                                                                                     -36.85                                 24,729.12




LFORM2XT                                                                                                                                                                                                                       Ver: 20.00j
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                                                                                       FORM 2                                                                                                                 Page:      2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:                 16-02028-5-DMW                                                                                             Trustee Name:                    Richard D. Sparkman
  Case Name:               SUNCOAST CONTRACTING, LLC                                                                                  Bank Name:                       UNION BANK
                                                                                                                                      Account Number / CD #:           *******0209 Checking Account (Non-Interest Earn
  Taxpayer ID No:          *******3731
  For Period Ending:       06/30/18                                                                                                   Blanket Bond (per case limit): $ 3,001,266.00
                                                                                                                                      Separate Bond (if applicable):


      1                2                            3                                4                              5            6                      7                     8                    9                  10

  Transaction    Check or                                                                                                                                                Adjustments                             Account / CD
     Date        Reference               Paid To / Received From          Description Of Transaction          Deposits ($)   Interest ($)           Checks ($)               ($)              Transfers ($)       Balance ($)




                                                                     Account *******0209                 Balance Forward                  0.00
                                                                                                       6 Deposits                    24,919.86              2 Checks                               36.25
                                                                                                       0 Interest Postings                0.00              6 Adjustments Out                     154.49
                                                                                                                                                            0 Transfers Out                         0.00
                                                                                                         Subtotal            $       24,919.86
                                                                                                                                                              Total                       $       190.74
                                                                                                       0 Adjustments In                     0.00
                                                                                                       0 Transfers In                       0.00

                                                                                                         Total               $       24,919.86




                             /s/    Richard D. Sparkman
      Trustee's Signature: __________________________________ Date: 07/09/18
                             RICHARD D. SPARKMAN




LFORM2XT                                                                                                                                                                                                              Ver: 20.00j
